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                          EXHIBIT A
             Case: 1:15-cv-06937 Document #: 286 Filed: 07/21/21 Page 2 of 35 PageID #:1564
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________ District of
                                                                           of Illinois
                                                                              __________
           United States ex rel. Dr. Susan Nedza,
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 15-cv-6937
           American Imaging Management, Inc.                                  )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                    Amerihealth Insurance Company of NJ
                                                       c/o William F. Haggett, Registered Agent
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: SEE ATTACHED RIDER



  Place: Tex Pasley/Hughes Socol Piers Resnick & Dym, Ltd.,                             Date and Time:
           70 W. Madison St., Ste. 4000, Chicago, IL 60602                                                   07/16/2021 9:00 am
           (312) 604-2752

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        06/24/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                       /s/ Tex Pasley
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Plaintiff/Relator Dr. Susan Nedza                                        , who issues or requests this subpoena, are:
Tex Pasley, Esq., 70 W. Madison St., Ste. 4000, Chicago, IL 60602, tpasley@hsplegal.com, (312) 604-2752

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 15-cv-6937

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 United States ex rel. Dr. Susan Nedza,                  )
                                                         )
                               Plaintiff-Relator,        )         No. 15-cv-6937
                                                         )
 v.                                                      )         Judge Jorge L. Alonso
                                                         )         Magistrate Judge Susan E. Cox
 American Imaging Management, Inc.                       )
                                                         )
                               Defendant.                )

      RIDER A TO RELATOR’S SUBPOENA TO AMERIHEALTH INSURANCE
                      COMPANY OF NEW JERSEY

                           DEFINITIONS AND INSTRUCTIONS

       A.      “You” means Amerihealth Insurance Company of New Jersey.

       B.      Unless otherwise specified, these requests cover the time period January 1, 2007

through December 31, 2015.

       C.      “Documents” includes “ESI” (electronically stored evidence) and both should be

given the broadest meaning and construction permissible under the Federal Rules and those

terms refer to all responsive documents or ESI in your possession, custody or control—including

within the possession, custody or control of any person or entity acting under your control or on

your behalf, such as agents, employees and attorneys—unless privileged or otherwise protected.

       D.      “Communications” includes email and other written correspondence such as

letter, memorandum, or presentation, no matter how delivered, but excludes text messages and

instant messages.

       E.      “AIM” means American Imaging Management, Inc., which does business as AIM

Specialty Health.

       F.      “Anthem” means Anthem, Inc., which was named Wellpoint, Inc. prior to 2014.



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       G.        “Medicare Advantage,” also known as Medicare Part C, means private health

insurance coverage offered in accordance with the federally funded Medicare Advantage (“MA”)

healthcare program. 42 U.S.C. § 1395w-21 et seq.

       H.        “MA Plan” means a Medicare Advantage Insurance Plan. For example, the Blue

Cross Medicare Advantage (HMO) plan is an MA Plan operated by Blue Cross Blue Shield of

Illinois. Unless otherwise specific, “MA Plan” refers only to Part C plans.

       I.        “CMS” means the Centers for Medicare and Medicaid Services of the United

States Department of Health and Human Services and includes Medicare Administrative

Contractors (“MACs”).

       J.        If any document is withheld on grounds of attorney-client privilege, attorney work

product or for any other reason, please produce a privilege log that includes: (a) the date of the

document; (b) the type of document; (c) the author and recipient of the document; (c) the general

subject matter of the document; and (d) the basis on which the claim of privilege or work product

is maintained.

       K.        To the extent You object only to a request on scope or burden, please produce any

documents not subject to the objection.

       L.        The Agreed Confidentiality Order is attached. ECF No 253. Documents that You

produce which contain Confidential Information as defined in the Order will be marked and

treated as Confidential.

       M.        Please produce in accordance with the formatting and specifications of the ESI

order sections F, H, I, and J, which is attached. ECF No. 268.




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                            PRODUCTION REQUESTS

    1.    Documents sufficient to identify the Plan name, all CMS plan number(s), and
          enrollment each month for each of Your MA Part C plans.

    2.    Documents sufficient to show the benefits offered for each of Your MA Part C
          plans each year.

    3.    The contracts with CMS in effect during the relevant time period related to any of
          Your MA Part C.

    4.    All documents You sent or provided to CMS related to or regarding any Medicare
          Advantage Part C contract.

    5.    Each bid you submitted to CMS related to any of Your MA Part C Plans.

    6.    All documents You sent or provided to CMS related to or regarding any Medicare
          Advantage bid for Your MA Part C plans.

    7.    The documents you relied on for any Medicare Advantage bid for Your MA Part
          C plans including but not limited to bid work papers; utilization assumptions, data
          or information; and cost assumptions, data or information.

    8.    All documents You sent or provided to CMS with or regarding any Medicare
          Advantage Part C monthly payment, data submission or certification.

    9.    All documents and communications with the federal government (including
          CMS) regarding AIM.

    10.   All documents and communications related to any appeal, audit, or corrective
          action plan related to Medicare Advantage and AIM or any action of AIM.

    11.   All documents and communications regarding whether AIM or AIM’s services
          violate or comply with CMS requirements for the Medicare Advantage program.

    12.   All return on investment, cost of care, utilization, or other impact analyses,
          assessments, valuations, evaluations, assumptions or summaries related to the
          impact of AIM for Your MA plans.

    13.   Full claims data (e.g. claims dump) for each of Your MA Plans from January 1,
          2006 through December 31, 2015 for the following outpatient procedures (a)
          computed tomography (“CT”), (b) computed tomography angiography (“CTA”),
          (c) Magnetic Resonance Imaging (“MRI”), (d) Magnetic Resonance Angiography
          (“MRA”), (d) positron emission tomography (“PET”) scans, (e) nuclear medicine,
          (f) echocardiography, (g) diagnostic sleep studies (home based), (h) diagnostic
          sleep studies (clinic-based), and (i) positive airway pressure (“PAP”) treatment.




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          For your convenience, a list of the associated CPT codes are included as Exhibit
          B. Though the Confidentiality Order provides for the disclosure of Personal
          Health Information (“PHI”), please contact us to discuss omitting certain claims
          data fields to possibly reduce unnecessary disclosure of PHI.

    14.   Documents sufficient to identify each pre-authorization vendor, contractor, or
          program, other than AIM, for diagnostic imaging or sleep studies used by each of
          Your MA Plans from January 1, 2006 through December 31, 2015.

    15.   All documents and communications related to payments to AIM related in whole
          or part to work for Your MA plans.

    16.   For the time period October 1, 2017 to present, all documents regarding this
          lawsuit including all communications or agreements with CMS, AIM, Anthem, or
          any other client of AIM regarding this lawsuit or the allegations in the compliant.

    17.   All agreements between You and AIM.




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                      EXHIBIT
                        B
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                         Request #13: Associated CPT Codes

29827            70549             72156             73720            75571

29881            70551             72157             73721            75572

29888            70552             72158             73722            75573

43239            70553             72159             73723            75574

45378            70554             72191             73725            75635

45380            70555             72192             74150            76376

70336            71250             72193             74160            76377

70450            71260             72194             74170            76380

70460            71270             72195             74174            76390

70470            71275             72196             74175            77058

70480            71550             72197             74176            77059

70481            71551             72198             74177            77078

70482            71552             73200             74178            77079

70486            71555             73201             74181            77084

70487            72125             73202             74182            78451

70488            72126             73206             74183            78452

70490            72127             73218             74185            78453

70491            72128             73219             74261            78454

70492            72129             73220             74262            78459

70496            72130             73221             74263            78460

70498            72131             73222             75552            78461

70540            72132             73223             75554            78464

70542            72133             73225             75557            78465

70543            72141             73700             75559            78466

70544            72142             73701             75561            78468

70545            72146             73702             75562            78469

70546            72147             73706             75563            78472

70547            72148             73718             75564            78473

70548            72149             73719             75565            78478


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                         Request #13: Associated CPT Codes

78480            93350             A7036

78481            93351             A7037

78483            93352             A7038

78491            95800             A7039

78492            95801             A7046

78494            95805             E0470

78496            95806             E0471

78608            95807             E0485

78609            95808             E0486

78811            95810             E0562

78812            95811             E0601

78813            0066T             E1399

78814            0067T             G0297

78815            0144T             G0398

78816            0145T             G0399

93303            0146T             G0400

93304            0147T             S8032

93306            0148T

93307            0149T

93308            0150T

93312            0151T

93313            A4604

93314            A7027

93315            A7030

93316            A7031

93317            A7032

93320            A7033

93321            A7034

93325            A7035


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                      EXHIBIT
                        C
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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

          UNITED STATES OF AMERICA, ex rel.             )
          DR. SUSAN NEDZA,                              )
                                                        )
                           Plaintiff-Relator,           )
                                                        )        Case No. 15 C 6937
                    v.                                  )        Judge Jorge L. Alonso
                                                        )        Magistrate Judge Susan Cox
          AMERICAN IMAGING                              )
          MANAGEMENT, INC., et al.                      )
                                                        )
                            Defendants.                 )

                                      QUALIFIED PROTECTIVE ORDER

                   Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure and 45 C.F.R. §

        164.512(e)(1), the Court finds good cause for the issuance of a qualified protective order and

        ORDERS as follows:

                   1.    The parties and their attorneys are hereby authorized to receive, subpoena and

        transmit “Protected Health Information” to the extent and subject to the conditions outlined herein.

                   2.    Confidential Health Information. The Parties desire to ensure the privacy of

        patient/insured/member medical records, patient/insured/member claims information, and other

        information that the Parties have determined might contain sensitive personal health information

        (“Confidential Health Information”). Confidential Health Information is intended to encompass

        any patient health information protected by any state or federal law, including, but not limited to,

        “Protected Health Information,” as defined below, and agree that any Confidential Health

        Information shall be deemed “Confidential.” Confidential Health Information does not include any

        document or information in which the producing Party has redacted personal identifiers and does

        not have actual knowledge that the information could be used alone or in combination with other



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        information to identify an individual who is the subject of the information. A Producing Party may,

        but is not required to, perform such redactions before producing documents that originally

        contained “Confidential Health Information” so long as the redactions do not result in prejudice to

        another Party.

                          (a)   Protected Health Information. Protected Health Information, as used

        herein, has the same scope and definition as set forth in 45 C.F.R. §160.103. Without limiting the

        generality of the foregoing, Protected Health Information includes, but is not limited to, health

        information, including demographic information, relating to: the past, present, or future physical

        or mental health or condition of an individual; the provision of health care to an individual; or the

        past, present, or future payment for the provision of health care to an individual, which identifies

        or reasonably could be expected to identify the individual. It also includes, but is not limited to,

        medical bills, claims forms, charges sheets, medical records, medical charts, test results, notes,

        dictation, invoices, itemized billing statements, remittance advice forms, explanation of benefits,

        checks, notices, and requests, and includes all notes, summaries, compilations, extracts, abstracts

        or oral communications that are based on or derived from Protected Health Information,

        regardless of form or format in which the individual who is the subject of the information can be

        identified.

                         (b)    Safeguards for Confidential Health Information. The Parties also seek to

        ensure that any person who receives and stores Confidential Health Information in connection with

        this Proceeding will develop, implement, maintain, and use appropriate administrative, technical,

        and physical safeguards to preserve the privacy, integrity, and confidentiality of any Confidential

        Health Information, and to prevent unpermitted use or disclosure of any Confidential Health

        Information they may receive from any person in connection with this Proceeding. Confidential




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        Health Information will be securely destroyed, deleted, or returned pursuant to the provisions of

        paragraph 6 below.

                   3.   All “covered entities” (as defined by 45 C.F.R. § 160.13) are hereby authorized to

        disclose Protected Health Information to attorneys representing either party in the above-captioned

        litigation.

                   4.   The parties and their attorneys shall be permitted to use or disclose the Protected

        Health Information for purposes of prosecuting or defending this action including any appeals of

        this case only after signing Attachment A. This includes, but is not necessarily limited to,

        disclosure to their attorneys, experts, consultants, court personnel, court reporters, copy services,

        trial consultants, and other entities or persons involved in the litigation process.

                   5.   Prior to disclosing Protected Health Information to persons involved in this

        litigation, counsel shall inform each such person that the Protected Health Information may not be

        used or disclosed for any purpose other than this litigation. Counsel shall take all other reasonable

        steps to ensure that persons receiving Protected Health Information do not use or disclose such

        information for any purpose other than this litigation.

                   6.   Within 90 days after the conclusion of the litigation including appeals, the parties,

        their attorneys, and any person or entity in possession of Protected Health Information received

        from counsel pursuant to paragraph four of this Order, shall return Protected Health Information

        to the covered entity or destroy any and all copies of Protected Health Information, except that

        counsel are not required to secure the return or destruction of Protected Health Information

        submitted to the court.




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                   7.   This Order does not control or limit the use of Protected Health Information that

        comes into the possession of the parties or their attorneys from a source other than a “covered

        entity,” as that term is defined in 45 C.F.R. § 160.103.

                   8.   Nothing in this Order authorizes counsel for either party to obtain medical records

        or information through means other than formal discovery requests, subpoenas, depositions,

        pursuant to a patient authorization, or other lawful process.

                   9.   This Order does not authorize either party to seal court filings or court proceedings.

        The Court will make a good cause determination for filing under seal if and when the parties seek

        to file Protected Health Information under seal.


          Dated: 6/24/2020                                  ENTER:


                                                            ____________________________________
                                                            Susan E. Cox
                                                            United States Magistrate Judge




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                                                 ATTACHMENT A

                                       UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF ILLINOIS
                                             EASTERN DIVISION

          United States, ex rel. Dr. Susan Nedza,                    )
                                                                     )
                                   Plaintiff-Relator,                )         No.   15-cv-6937
          v.                                                         )
          American Imaging Management, Inc.                          )        Judge Jorge L. Alonso
                                                                     )        Magistrate Judge Susan Cox
                                          Defendant.                 )


                          ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                   The undersigned hereby acknowledges that he/she has read the Qualified Protective Order

        dated _________ in the above-captioned action and attached hereto, understands the terms

        thereof, and agrees to be bound by its terms. The undersigned submits to the jurisdiction of the

        United States District Court for the Northern District of Illinois in matters relating to the Qualified

        Protective Order and understands that the terms of the Qualified Protective Order obligate him/her

        to use materials designated as Protected Health Information in accordance with the Order solely

        for the purposes of the above-captioned action, and not to disclose any such Protected Health

        Information to any other person, firm or concern.

                   The undersigned acknowledges that violation of the Qualified Protective Order may result

        in penalties for contempt of court.

          Name:

          Job Title:

          Employer:

          Business Address:




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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

UNITED STATES, ex rel. DR. SUSAN NEDZA,                   )
                                                          )        Case No. 15-cv-6937
                Relator,                                  )
                                                          )        Judge Alonso
V.                                                        )        Magistrate Judge Cox
                                                          )
AMERICAN IMAGING MANAGEMENT, INC.,                        )
                                                          )
                Defendant.                                )
                                                          )


                             ESI AND DOCUMENT PRODUCTION

                                   PROTOCOL AND ORDER



         Pursuant to Fed. R. Civ. P. 26(f), the Parties mutually agree on the ESI protocol described

below.

A.       Duty of Cooperation

         The Parties acknowledge their duty to work together cooperatively throughout the

discovery process.

B.       ESI Liaisons

         To promote transparency, communication, and cooperation between the Parties, the Parties

shall designate e-discovery liaisons for purposes of meeting and conferring on ESI topics. The ESI

liaison for Plaintiff shall be Charlie Wysong and the ESI liaisons for AIM shall be Rob Lindholm

and Patrick McMahon. All productions of ESI by any Party or non-party shall be sent to the

Parties’ counsel of record, including the ESI liaisons.



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C.     Preservation

       1.      The Parties represent that they have issued litigation hold notices to those

custodians reasonably believed to have discoverable information and to persons responsible for

maintenance of non-custodial data that may be relevant to the claims and defenses in this litigation.

The Parties further represent and agree that their efforts to preserve ESI will be reasonable and

proportionate, and that, to the extent new custodians or sources reasonably likely to have relevant

data come to light, the Parties will account for these new custodians or sources.

       2.      The Parties shall take reasonable and proportional steps to preserve discoverable

information in their possession, custody or control and represent that they have suspended certain

features of their routine electronic information system operations to prevent the loss of

information, if that information is subject to a preservation obligation. The Parties shall not be

required to modify, on a going-forward basis, the procedures used by them in the ordinary course

of business to back up and archive data; provided, however, that the Parties shall preserve the non-

duplicative discoverable information currently in their possession, custody or control.

       3.      Preservation Not Required. The Parties need not preserve the following categories

of electronic information:

            (a) Temporary or other transitory data (data that exists for a brief, temporary period
                and is not maintained in the ordinary course of business);

            (b) “deleted,” “slack,” “fragmented,” or “unallocated” data on hard drives;

            (c) random access memory (RAM) or other ephemeral data;

            (d) on-line access data such as temporary internet files, history, cache, cookies, etc.;

            (e) data in metadata fields that are frequently updated automatically, such as “last-
                accessed” timestamps; and,



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             (f) data that is substantially duplicative of data that is more accessible elsewhere, such
                 as backup data or data stored on smartphones or tablets that is substantially
                 duplicative.

D.      Document and Data Sources

        1.       Within twenty-one (21) days from of executing this protocol, each Party shall

identify and describe potential non-custodial data sources identified after a reasonable

investigation that contain data the Party believes in good faith is relevant to the claims and

defenses.

        2.       The Parties shall timely supplement such disclosure to the extent potential new

custodians, custodial sources, or non-custodial sources are identified.1

        3.       Where disputes arise concerning custodians or sources of ESI, the Parties shall

promptly meet and confer. If the Parties’ disagreement persists after meeting and conferring in

good faith, the Parties shall notify the Court of their unresolved dispute(s) and seek resolution from

the Court.

E.      Identification of Responsive ESI.

        1.       Consistent with Section D, the Parties agree that within twenty-one days of entry

of this Order, and, subsequently, the producing party will (i) identify a list of data sources and

custodians likely to possess responsive information based on a reasonable inquiry and identify

which of those it proposes to search, (ii) disclose the date ranges and any other parameters

proposed to cull or narrow the ESI collection, and (iii) propose any search terms to be used to cull

or narrow the ESI collection as described in subsection (2) below.



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  The Parties agree to meet and confer regarding the contents of mobile devices that may contain unique information
that is relevant to the claims and defenses and, if so, how and whether such information should be collected and
reviewed for production.


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       2.      Should the producing Party use search terms as a means to cull or narrow the ESI

collection, the producing Party will notify the requesting Party of its intent to use search terms and

provide the requesting Party with the following information:

            (a) A list of search terms the producing Party intends to use along with hit information,

            (b) Confirm that the producing Party has made a reasonable inquiry of client employees
                to identify applicable nicknames, terms of art, abbreviations, and other language
                variations of proposed search terms likely to result in identification of responsive
                information, and,

            (c) Software to be used to search and search syntax options.

       3.      Upon receipt of the search terms and disclosures noted above, the requesting Party

may propose modifications to the search sources and terms within twenty-one days of receiving

the preceding disclosures. The requesting Party may then request a meet and confer to discuss a

mutually agreeable list of search sources and terms with the producing Party. To the extent a

producing Party does not agree to a search term proposed by a requesting Party, the producing

Party may suggest alternative search term and will provide a good faith, reasonable explanation

for its alternative or its refusal to use the search term proposed by the requesting Party to allow the

parties to meet and confer. For any modification proposed by the requesting Party, the requesting

Party will provide a good faith, reasonable explanation for its proposed modification to allow the

parties to meet and confer. Nothing in this protocol will be interpreted to require the disclosure of

information protected by the attorney-client privilege, the work product doctrine, or any other

applicable privilege.

       4.      For each ESI source that is searched with search terms, after the producing Party in

good faith believes productions are complete for that source, the producing Party agrees to conduct

a validation check across the portion of the ESI source not hitting on the selected search terms and

not produced “Null Set.” The producing Party will select a statistically random sample of
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documents from the Null Set. The size of the statistically random sample will be calculated by

using a confidence level of 95% and a margin of error of 4%.

       The producing Party will review and mark responsive or non-responsive the random

sample of the Null Set. If responsive documents are found during the Null Set review, the

producing Party will produce the responsive, non-privileged documents from the Null Set review,

and log responsive documents withheld as privileged. Responsive, non-privileged documents will

be produced consistent with Section F regarding maintaining of parent-child relationships to the

extent they exist. For the ESI source, the producing Party will disclose the count of documents:

       (a) in the Null Set, and,

       (b) in the Null Set sample: total, responsive, and not responsive.

For these counts, privileged documents withheld shall be included in the totals, but not produced.

Based on the information and any responsive documents identified during the Null Set review, the

parties will then meet and confer to determine if any additional terms, or modifications to existing

terms are needed to identify unique, substantive, responsive documents.

       5.      If, at some point, the producing Party seeks to use technology assisted review

(TAR) instead of search terms for a particular population of data, the producing Party will notify

the requesting Party and propose a protocol for the use of TAR. If not agreed, the Parties will meet

and confer on procedures for the use of TAR.

       6.      Where disagreements arise concerning custodians or sources of ESI or other

components of Section E, the Parties shall promptly meet and confer. If after meeting and

conferring in good faith, the Parties are unable to reach agreement on any component of this

Section E, either Party may notify the Court of the unresolved dispute(s) and seek resolution from

the Court.

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F.     Production Format and Processing Specifications
       1.      Paper Records

       Paper records will be scanned or otherwise converted into electronic form from paper

documents in the following format:

            (a) TIFFs. All documents shall be scanned to single page Group 4, TIFF format, at
                least 300 dpi and 8 ½ x 11-inch page size, except for documents requiring higher
                resolution or different page size. Each image file should have a unique file name
                which shall be the Bates number of the page.

            (b) In scanning paper documents, distinct documents should not be merged into a single
                record, and single documents should not be split into multiple records (i.e., paper
                documents should be logically unitized based on Logical Document Determination
                (or “LDD”)). The Parties will make their best efforts to unitize documents correctly
                and will commit to addressing situations where there are improperly unitized
                documents.

            (c) For documents found in folders or other containers with labels, tabs, or other
                identifying information, such labels and tabs shall be scanned where practicable.
                Pages with Post It notes shall be scanned both with and without the Post It, with the
                image of the page with the Post It preceding the image of the page without the Post
                It.

            (d) Objective Coding Fields. At least the following objective coding fields should be
                provided, if applicable: (1) beginning Bates number; (2) ending Bates number; (3)
                beginning attachment Bates number; (4) ending attachment Bates number; (5) page
                count; (6) source location/custodian; (7) confidential; (8) redacted; and (9)
                production volume.

            (e) OCR Text Files. Document-level OCR should be provided as a separate text file.
                The file name of each text file should correspond to the file name of the first image
                file of the document with which it is associated. The text files will not contain the
                redacted portions of the documents. OCR software should be set to the highest
                quality setting during processing. Settings such as “auto-skewing” and “auto-
                rotation” should be turned on during the OCR process.

       2.      Electronically Stored Information

       The Parties will produce electronically stored information (“ESI”) in TIFF format

according to the following specifications:


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        (a) All TIFF formatted documents will be single page, Group 4 TIFF, at 300 X 300 dpi
            resolution, and 8½ X 11-inch page size, except for documents requiring different
            resolution or page size.

        (b) An image load file, in standard Opticon format, showing the Bates number of each
            page and the unitization of the documents, will accompany all document images.

        (c) Each imaged version of an electronic document will be created directly from the
            original electronic document.

        (d) Color documents (e.g., color photographs or graphical representations in color)
            shall be produced as black & white, single-page TIFF images in accordance with
            the technical specifications set forth above, unless the production in black and white
            alters or obscures the substance of the document or if ordered by the Court. If color
            images are required, the files shall be delivered in single page, JPEG format.
            Documents produced in color must be produced with agreed compression. A Party
            may request that a reasonable number of documents be produced in a color format
            upon review of the other Party’s production.

        (e) Parent-child relationships (the association between an attachment and its cover
            document or between embedded documents and their parent) shall be preserved.

        (f) The following metadata fields, if associated with the electronic document, will be
            produced. The Parties are under no obligation to manually populate these fields
            that are not automatically generated by the processing of the ESI or that do not exist
            as part of the original metadata of the document. Because different platforms use
            different nomenclature for these metadata fields, the below offers a common name
            and description, with the expectation that each Party produce that field or its
            substantial equivalent.

        (g) ESI with hidden content or comments will be produced in a manner that makes any
            such content visible and searchable.


                                                                               Required for
                                                                 Required
Field Name                            Field Description                        Non-E-mail
                                                                 for Email
                                                                                  ESI
All Custodian                   Name of custodian(s) or               x               x
                                non-custodial data source of
                                email(s) or file(s) produced
                                (Last Name, First Name
                                format) as available
BegBates                        Beginning Bates# (including           x               x
                                Prefix)

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                                                                        Required for
                                                            Required
Field Name                     Field Description                        Non-E-mail
                                                            for Email
                                                                           ESI
EndBates                  Ending Bates# (including             x             x
                          Prefix)
BegAttach                 Beginning Bates number of            x             x
                          the first document in an
                          attachment range (only in
                          emails with attachments)
EndAttach                 Ending Bates number of the           x             x
                          last document in attachment
                          range (only in emails with
                          attachments)
From                      From field extracted from an          x
                          email message
Author                    Author field extracted from                        x
                          the metadata of a non-email
                          document
To                        To or Recipient extracted            x
                          from an email message
Cc                        Carbon Copy (“Cc”) field             x
                          extracted from an email
                          message
Bcc                       Blind Carbon Copy (“Bcc”)            x
                          field extracted from an email
                          message
EmailSubject              Subject line extracted from          x
                          an email message
Filename                  File name — Original name                          x
                          of file as appeared in original
                          location
Title                     Title field extracted from the                     x
                          metadata of a non-email
                          document
DateSent                  Sent date     of an email            x
                          message        (mm/dd/yyyy
                          format)



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                                                                           Required for
                                                               Required
Field Name                         Field Description                       Non-E-mail
                                                               for Email
                                                                              ESI
DateRcvd                      Received date of an email           x
                              message      (mm/dd/yyyy
                              format)
DateCreated                   Date that a non-email file was                    x
                              created         (mm/dd/yyyy
                              format)
DateLastModified              The application recorded                          x
                              time on which the document
                              was last modified
TimeSent                      Time e-mail was          sent       x
                              (hh:mm:ss format)
TimeRcvd                      Time e-mail was received            x
                              (hh:mm:ss format)
All FilePath                  File path storage location of                     x
                              the document or email if the
                              source application allows for
                              the creation of folders. Any
                              email container name should
                              be included in the path.
NativeLink                    Relative path to any files          x             x
                              produced in native format
TextLink                      Relative path to any                x             x
                              OCR/extracted text files in
                              the production set
HashValue                     MD5 or SHA-1 hash value             x             x
                              used to deduplicate the data
Confidentiality Designation   Confidentiality Designation         x             x

DocExt                        File extension for email or e-      x             x
                              doc.
Pages                         Number of pages in the              x             x
                              produced document (not
                              applicable to native file
                              productions).




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                                                                              Required for
                                                                Required
Field Name                             Field Description                      Non-E-mail
                                                                for Email
                                                                                 ESI
LastModBy                         Last Modified/Saved By             x              x
                                  information as derived from
                                  the properties of the
                                  document.
ConversationID                    Email ConversationID               x
MsgID                             Email MsgID                        x
AttachCount                       Number of attachments              x
AttachNames                       Filenames of attachments           x
Redacted                          “Y” if document is redacted        x              x

ProdVol                           Name of the Production             x              x
                                  Volume
ProdVolume                        Identifies the volume of           x              x
                                  production



    3.        Native Files

              a.      The Parties will produce the following ESI types in in native file format

    files with TIFF placeholder images:

              •    Electronic spreadsheets

              •    Audio/video files

              •    Animations

    For file types of which TIFF placeholder images cannot be reasonably generated, the

    Parties may produce the file natively. The Parties will produce word processing (e.g.,

    Microsoft Word), presentation (e.g., Microsoft PowerPoint), and image (e.g., jpeg, gif)

    documents in native format upon reasonable request.




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                b.      Any document produced in native format will be produced according to the

         following specifications:

                (a) A unique document number and confidentiality designation shall be used as the
                    file name and the original file name and file extension shall be preserved in the
                    corresponding load file. An example of this convention would be:

                            “PREFIX_00000001_Confidential.doc.”

                (b) The native format documents shall be accompanied by reference information
                    that sets forth for each document, sufficient information to allow the parties to
                    track and authenticate the native format documents produced, including: (i) the
                    name of the custodian from whose files the electronic file is produced; (ii) an
                    appropriately calculated “MD-5 Hash Value” or other Hash Value; (iii) the
                    original name of the file; and (iv) the unique document number.

                (c) Any file produced in native format need not be imaged. Instead, a single page
                    placeholder image shall be provided that indicates the file was produced in
                    native format and contains the Bates number of the corresponding file.


        4.      Other File Types

        The Parties will meet and confer on the production format of less-commonly used file types

as needed.

        5.      Alternate Formats

        Notwithstanding the Parties’ agreements herein, upon reasonable request made by the

receiving Party, the Parties shall confer regarding the production in an alternate format of a

document previously produced in accordance with this Order.

        6.      Searchable Text File

        All TIFF files are to be provided with an accompanying searchable text (.TXT) file

extracted from the native, electronic file (not generated as an OCR file from the TIFF image(s)),

and such text files shall contain the full text extraction. To the extent reasonably feasible, extracted



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text shall provide all comments, tracked changes, speaker’s notes, and text from hidden

worksheets, slides, columns, and rows.

       In the case of files with redacted text, OCR’d text of the redacted documents may be

provided in lieu of extracted text, with the exception of spreadsheets.

            (a) Each text file shall be named according to the Bates number of the first page of the
                corresponding image files (e.g., BATES000001.TXT).

            (b) In the case of email, the corresponding text file shall include, where reasonably
                available: (1) the individual(s) to whom the communication was directed (“To”);
                (2) the author(s) of the email communication (“From”); (3) who was copied and
                blind copied on such email (“CC” and “BCC”); (4) the subject line of the email
                (“RE” or “Subject”); (5) the names of any attachments; and (6) the text (body) of
                the email.

       7.      Redacted Files

       Extracted text will not be provided for electronic documents that have been redacted—e.g.,

for privilege or trade secrets—because the extracted text would reveal the redacted information.

Instead, these files should be run through an OCR process to capture the visible text only and the

results exchanged in lieu of the original extracted text. For spreadsheets redacted in native format,

extracted text will be provided that omits any redacted information. Such extracted text will be

generated by the program applying the redactions and will not be generated by OCR.

       8.      Data Load Files/Cross-Reference Files

       Fielded data should be exchanged via a document-level-database load file in UTF 8 or

comma delimited (CSV) format. All image data should be delivered with a corresponding image

load file in one of three formats; standard IPro (LFP), Opticon (OPT), or Summation (DII). The

total number of image files referenced in the image load file should match the total number of

images in the production delivery.



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    9.     Filtering

           (a) De-duplicating Documents. The Parties may de-duplicate globally (i.e., across
               all custodians) using hash values, provided that all other custodians of the
               duplicate ESI are listed in the “All Custodian” field and “All File Paths” field.
               The Parties shall de-duplicate stand-alone documents only against stand-alone
               documents and shall de-duplicate email documents with families only against
               email documents with families. De-duplication shall not break apart families.
               ESI that is not an exact duplicate may not be removed.

           (b) Most Inclusive Email Productions. Email threads are email communications
               that contain prior or lesser-included email communications which also may
               exist separately in the Party’s electronic files. A most inclusive email thread is
               one in which, at a minimum: (i) all participants (From, To, CC, BCC) in any
               email in the thread are reflected in the most inclusive thread (ii) all attachments
               to any emails in the thread are reflected and captured in the most inclusive email
               thread, (iii) the full body text of all lesser-included emails in the thread are
               included in the most inclusive email without alterations such as subsequently
               added in-line comments. Parties may produce most-inclusive email threads
               and not separately produce lesser-included emails contained in those same
               threads. Only email messages included in a produced most-inclusive thread, as
               herein defined, need not be produced, and any relevant email included in a
               thread that is not a most-inclusive thread, as defined herein, must be produced.
               To the extent that an e-mail thread contains privileged communications, such
               communications can be redacted. If an e-mail thread contains responsive, non-
               privileged communications, the entire e-mail thread cannot be withheld as
               privileged. Upon request, the Parties agree to provide individual emails within
               an email thread, if they exist, provided that such request is reasonable and not
               unduly burdensome on the producing party.

           (c) De-NISTing. Electronic files will be De-NISTed, removing commercially
               available operating system and application file information contained on the
               current NIST file list.

           (d) Zero-byte Files. The Parties shall filter out stand-alone files identified as zero-
               bytes in size.

           (e) Date. The Parties may limit processing of ESI to that which was created,
               modified, sent, or received between certain dates as agreed by the Parties, or set
               forth by the Court.

           (f) The Parties will meet and confer about any additional production format or
               processing specifications not otherwise provided herein.




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         10.    Date Fields Time Zone.

         All ESI shall be processed with a single time zone and a date and time setting. The time

zone used for metadata in a production shall be Eastern time (EDT).

         11.    Exception Files.

         The Parties will use reasonable efforts to address Documents that present imaging or form

production problems (including encrypted and/or protected files identified during the processing

of ESI) (“Exception Files”). The Parties will meet and confer regarding procedures that will be

used to identify, access, and process Exception Files. If the Parties cannot reach agreement on the

handling of Exception Files through the meet and confer process, the matter may be submitted to

the Court for determination.

         12.    Encrypted or Password Protected ESI.

         For any ESI that exists in encrypted format or is password protected, the producing Party

will provide the other Parties access to those files to the extent reasonably possible.

H.       Databases, Structured, Aggregated or Application Data.

         To the extent reasonable, structured data or reports from databases or applications will be

produced in export or report form in a .csv file, Excel file, or .txt file (tab delimited, pipe delimited,

etc.), or other usable format that is reasonable based on the nature of the data. The Parties will

reasonably cooperate in the exchange of information concerning such databases and data sources.

I.       Production Media.

         The producing Party may produce documents via a secure file transfer mechanism or on

readily accessible computer or electronic media as the Parties may hereafter agree upon, including

CD-ROM, DVD, or external hard drive (with standard PC compatible interface) (“Production

Media”). All Production Media will be encrypted and the producing Party will provide a

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decryption key to the requesting Party in a communication separate from the production itself.

Any replacement Production Media will cross-reference the original Production Media, clearly

identify that it is a replacement and cross-reference the Bates Number range that is being replaced.

J.     Privilege Log

       Each Party shall comply with Fed. R. Civ. P. 26(b)(5) and log documents withheld on the

basis of privilege from that production within a reasonable period of time after each production

(not to exceed thirty days). Privilege logs for ESI shall include at least the following fields:

Custodian, from, To, cc, bcc, Subject, File Name, File Path, Date Created or Sent, Date Last

Modified, and Description (sufficient to evaluate the merits of the claim of privilege). Redacted

documents need not be logged if the reason for the redaction and any other information that would

otherwise appear on a log is apparent on the face of the document; and the bibliographic

information (to, from, subject, etc.) is not redacted. For any such document, a producing party

shall provide the reason for a redaction, if not already provided, upon request. The producing Party

shall identify which persons appearing in the privilege log are attorneys.

K.     Lost, Destroyed, or Irretrievable ESI.

       If a Party knows of a specific occurrence or process by which responsive ESI that once

existed was lost, destroyed, or is no longer retrievable, the Party shall use reasonable efforts and

good faith to explain where and when the responsive ESI was last retrievable and promptly disclose

the circumstances surrounding the change, whether that information is available from other

sources, and whether any backup or copy of such ESI exists. Nothing in this paragraph is intended

to expand or limit the obligations under the Federal Rules of Civil Procedure and the Protective

Order entered in this case.



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L.       Limitations and Non-Waiver.

         This protocol provides a general framework for the production of ESI and paper documents

on a going forward basis. The Parties and their attorneys do not intend by this protocol to waive

their rights to the attorney-client privilege, work-product doctrine, or other applicable protections

and confidentiality designations.

M.       General Provisions.

         1.     Unless this Court orders otherwise, and consistent with the Federal Rules of Civil

Procedure, each Party shall bear the costs of preserving, collecting, processing, reviewing, and

producing its own documents and ESI.

         2.     Any practice or procedure set forth herein may be varied by agreement of the

Parties, and first will be confirmed in writing, where such variance is deemed appropriate to

facilitate the timely and economical exchange of electronic data or other covered discovery

materials.

         3.     Should any Party subsequently determine in good faith that it cannot proceed as

required by this Order or that the Order requires modification, the Parties will meet and confer to

resolve any dispute before seeking Court intervention.

         4.     Nothing in this protocol shall relieve a Party of its obligation to produce or log

documents of which they have actual knowledge and which are subject to discovery under Rule

26, subject to any objections.

IT IS SO ORDERED.




Dated:          11/17/2020                            ____________________________________
                                                      U.S. Magistrate Judge Susan E. Cox

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